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                             13   and Debtors in Possession
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                             14                              UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF CALIFORNIA
                             15                                   SAN FRANCISCO DIVISION

                             16
                                                                            Bankruptcy Case
                             17                                             No. 19-30088 (DM)
                                  In re:
                             18                                             Chapter 11
                                  PG&E CORPORATION,
                             19                                             (Lead Case)
                                           - and -                          (Jointly Administered)
                             20
                                  PACIFIC GAS AND ELECTRIC                  REPLY OF DEBTORS TO LIMITED OBJECTION
                             21   COMPANY,                                  OF THE OFFICIAL COMMITTEE OF
                                                                            UNSECURED CREDITORS AND SUCCESSOR
                             22                                 Debtors.    INDENTURE TRUSTEE TO MOTION OF
                                                                            DEBTORS PURSUANT TO 11 U.S.C. §§ 105(A)
                             23    Affects PG&E Corporation                AND 362 FOR INTERIM AND FINAL ORDERS
                                   Affects Pacific Gas and Electric        ESTABLISHING NOTIFICATION PROCEDURES
                             24   Company                                   AND APPROVING RESTRICTIONS ON CERTAIN
                                   Affects both Debtors                    TRANSFERS OF STOCK OF, AND CLAIMS
                             25                                             AGAINST, THE DEBTORS
                                  * All papers shall be filed in the Lead   Date: February 27, 2019
                             26   Case, No. 19-30088 (DM).                  Time: 9:30 a.m. (Pacific Time)
                                                                            Place: United States Bankruptcy Court
                             27                                                    Courtroom 17, 16th Floor
                                                                                   San Francisco, CA 94102
                             28
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF
                                THE OFFICIAL COMMITTEE OF UNSECURED
                              Case: 19-30088 Doc# 650 Filed: 02/25/19             Entered: 02/25/19 19:11:09   Page 1 of
                                CREDITORS                              11
                             1                       1.      PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company

                             2        (the “Utility”), as debtors and debtors in possession (collectively, the “Debtors”) in the above-

                             3        captioned chapter 11 cases (the “Chapter 11 Cases”), filed a motion (the “Motion”) 1 for entry of an

                             4        order (as amended for comments received, the “Order”) authorizing the Debtors to, among other

                             5        things, establish procedures to protect the full potential value of the Debtors’ consolidated net

                             6        operating tax loss carryforwards (the “NOLs”) and certain other tax attributes, including certain

                             7        income tax credits (together with the NOLs, the “Tax Attributes”). The Debtors submit that the

                             8        Motion should be granted on a final basis for the reasons set forth herein and in the Motion. In
                             9        response to comments received from various interested parties, certain clarifying changes have been
                             10       made to the proposed Order. In further support of the Motion, and in response to (i) the limited
                             11       objection of the Official Committee of Unsecured Creditors (the “UCC”) to the Motion, filed on
                             12       February 22, 2019 (the “UCC Objection”), and (ii) the joinder of BOKF, in its capacity as successor
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                             13       indenture trustee (the “Indenture Trustee”) under the Indentures dated as of March 11, 2004 (as
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                             14       supplemented, amended and restated), November 29, 2017 and August 6, 2018, pursuant to which the
                             15       Utility’s senior notes were issued, filed on February 22, 2019 (the “Joinder” and together with the
                             16       UCC Objection, the “NOL Objection”), the Debtors respectfully submit this Reply (the “Reply”).
                             17   I.        PRELIMINARY STATEMENT
                             18                      2.      The Debtors commenced the Chapter 11 Cases to preserve and maximize the

                             19       value of their business enterprise. Consistent with this purpose, and as is customary in many cases,

                             20       the Debtors filed the Motion to preserve optionality in connection with the chapter 11 plan process by

                             21       safeguarding all available restructuring paths, including the filing of a 382(l)(5) Plan (as described in

                             22       the Motion) that could maximize the availability of the amount of the Debtors’ Tax Attributes

                             23       following a reorganization. Absent entry of the Order on a final basis, the Debtors may forever lose

                             24

                             25
                                  1
                             26     Motion of the Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362 for Interim and Final Orders
                                  Establishing Notification Procedures and Approving Restrictions on Certain Transfers of Stock of, and
                             27   Claims Against, the Debtors. Any capitalized terms used but not defined herein have the meanings set
                                  forth in the Motion.
                             28
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF                   2
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED                    Entered: 02/25/19 19:11:09        Page 2 of
                                CREDITORS                               11
                             1    their ability to utilize billions of dollars of Tax Attributes in the manner that the Debtors determine to

                             2    be optimal.

                             3                   3.      Despite the obvious benefits of the relief sought in the Motion, the NOL

                             4    Objection was filed (without any evidentiary submission) on the basis that the relief sought as to

                             5    Claims “may be . . . unnecessary” and is seeking to protect against “speculative (and relatively

                             6    unlikely) future scenarios.” NOL Objection at 2-3. Distilled to its essentials, the NOL Objection

                             7    asks this Court to elevate the interests of Claims traders and thereby risk jeopardizing Tax Attributes

                             8    that could benefit tens of thousands of other creditors and parties in interest in these Chapter 11
                             9    Cases. Indeed, one thing clearly is not speculative – in the absence of the relief requested, substantial
                             10   Tax Attributes may be lost.
                             11
                                                 4.      In the early weeks of these Chapter 11 Cases, no one can predict what the
                             12
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                                  Debtors’ chapter 11 plan will look like. As such, and as has become common practice, the Debtors
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                             13
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                                  have sought narrowly tailored relief to ensure that they preserve their potentially valuable Tax
                             14
                                  Attributes. As of the Petition Date, the Debtors had estimated federal NOLs of over $4 billion and
                             15
                                  tax credits of approximately $115 million. Moreover, the Debtors expect the amount of such NOLs
                             16
                                  to increase in connection with distributions to be made under a chapter 11 plan. As the cases
                             17
                                  progress, the Debtors will have to determine in consultation with their other constituencies what type
                             18
                                  of chapter 11 plan provides the most value to the Debtors’ estates and their various stakeholders. The
                             19
                                  fact that the Debtors’ stock continues to trade is no indication of whether a chapter 11 plan will
                             20
                                  provide for a distribution of equity to creditors. If the optimal chapter 11 plan is one that relies on
                             21
                                  section 382(l)(5) of the Tax Code (“Section 382(l)(5)”) (described below), the relief sought in the
                             22
                                  Motion will preserve the ability to realize the benefits of the Tax Attributes.
                             23
                                                 5.      Initially, the Debtors observe that no objection has been filed with respect to
                             24
                                  the proposed stock trading procedures (the “Stock Procedures”), which were also the subject of the
                             25
                                  Interim Order. In fact, as relates to the Stock Procedures, the UCC affirmatively supports the
                             26
                                  granting of final relief as important to preserving the potential value of the Debtors’ Tax Attributes.
                             27

                             28
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF               3
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED                Entered: 02/25/19 19:11:09        Page 3 of
                                CREDITORS                               11
                             1                    6.     The proposed claims trading procedures (the “Claims Procedures”) serve this

                             2     same purpose by preserving the Debtors’ ability to formulate and implement a chapter 11 plan that

                             3     benefits from the full potential value of the Debtors’ Tax Attributes. The Claims Procedures are

                             4     narrowly tailored to allow full trading of Claims while providing notice of an established set of

                             5     procedures that would be implemented in the event of a proposed plan that relies on the potential

                             6     utilization of Section 382(l)(5) (described below). Such procedures include (i) procedures akin to the

                             7     Stock Procedures, and (ii) if necessary for the Debtors’ ability to utilize Section 382(l)(5), the

                             8     possibility that persons who acquired Claims on or after the Petition Date – having had notice of the
                             9     proposed Order and the Order having been entered establishing the Claims Procedures – may be
                             10    required to resell a specified amount of such Claims. However, any such sale would only be required
                             11    if the Debtors file a further motion with the Court (with notice to, among others, the UCC and other

                             12    relevant Substantial Claimholders and a hearing) seeking an order to require such sales, the Court
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                             13    enters such order, and the 382(l)(5) Plan is subsequently confirmed.
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                             14   II.    BACKGROUND

                             15                   7.     A 382(l)(5) Plan may be necessary to prevent serious impairment of the

                             16    Debtors’ ability to use NOLs and other tax attributes to shield taxable income. In general, section

                             17    382 of the Tax Code (“Section 382”) limits a corporation’s ability to utilize its NOLs, tax credits, and

                             18    certain other tax benefits to offset future income once that corporation has undergone a 50%

                             19    ownership change within the meaning of Section 382 (an “Ownership Change”).

                             20                   8.     However, Section 382(l)(5) provides a safe harbor (the “Section 382(l)(5) Safe

                             21    Harbor”) to the general rule whereby, if satisfied, the limitations imposed by Section 382 may be

                             22    significantly less restrictive than those otherwise applicable.    Under the Section 382(l)(5) Safe

                             23    Harbor, as described in the Motion, a corporation is not subject to the annual limitation ordinarily

                             24    imposed by Section 382 with respect to an Ownership Change, provided that (i) the Ownership

                             25    Change resulted from the consummation of a chapter 11 plan or pursuant to any applicable

                             26    Bankruptcy Court order, and (ii) the debtor’s pre-Ownership Change shareholders and/or “qualified

                             27    creditors” (as hereinafter defined) emerge from the reorganization owning at least fifty percent (50%)

                             28    of the total value and voting power of the reorganized debtor’s stock immediately after the Ownership
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF               4
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED                Entered: 02/25/19 19:11:09        Page 4 of
                                CREDITORS                               11
                             1    Change. Under section 382(l)(5)(E) of the Tax Code and the applicable Treasury Regulations, a

                             2    creditor whose Claim is exchanged for stock of the reorganized debtor under a chapter 11 plan or

                             3    pursuant to any applicable Bankruptcy Court order is, for purposes of Section 382, a “qualified

                             4    creditor” (each, a “Qualified Creditor”) if such creditor’s Claim either (a) has been, or is treated as

                             5    being, owned by such creditor for eighteen (18) or more months prior to Petition Date or (b) arose in

                             6    the ordinary course of the debtor’s business and was, or is treated as being, at all times beneficially

                             7    owned by such creditor. Significantly, holders of claims may be classified as Qualified Creditors,

                             8    despite purchasing their claims within 18 months prior to or during the Chapter 11 Cases, if they do
                             9    not become (directly or indirectly) a 5% or greater shareholder of the reorganized Debtors.
                             10                  9.      The requested relief will ensure that the Debtors will have flexibility, if the

                             11   Debtors, in consultation with the UCC and other interested parties, determine it to be desirable, to

                             12   structure a chapter 11 plan or other distributions to comply with the requirements of the Section
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                             13   382(l)(5) Safe Harbor and thus to preserve the value of the Debtors’ Tax Attributes to the fullest
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                             14   extent possible. The Debtors are not currently seeking to enjoin any creditor from taking any action

                             15   with respect to its Claims, including the trading of its Claims, but rather are merely giving notice that

                             16   certain procedures can be invoked if the Debtors determine to file a 382(l)(5) Plan. Upon the filing of

                             17   a 382(l)(5) Plan, the Claims Procedures would impose a process similar to the Stock Procedures,

                             18   since at that point, to the extent claimholders would receive equity under the proposed plan, the

                             19   accumulation of Claims could (similar to the existing accumulation of stock) impair the future value

                             20   of the Debtors’ Tax Attributes. As indicated, no required sell down of any Claims acquired by a

                             21   holder during the Chapter 11 Cases would occur without a further order of the Court. However,

                             22   granting the relief requested in the Motion will put each holder on official notice from the Court that

                             23   such a sell down could occur.

                             24                  10.     At this stage, it would be irresponsible for the Debtors to forgo the ability to

                             25   protect the utilization of valuable assets of the Debtors’ estates. The Debtors respectfully request that

                             26   the Court reject the argument that the relief sought is premature and currently unnecessary, and

                             27   approve the Order in full, including the Claims Procedures.

                             28
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF               5
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED                Entered: 02/25/19 19:11:09        Page 5 of
                                CREDITORS                               11
                                  III.   ARGUMENT
                             1

                             2           A.      The Claims Procedures are Necessary Now, and Narrowly Tailored to Avoid an
                                                 Undue Impact on Trading
                             3

                             4                   11.     The UCC and Indenture Trustee assert that the Claims Procedures are

                             5     premature (UCC Objection at ¶¶9-16; Joinder), that the filing of the Motion was itself sufficient to

                             6     put claimholders on notice of the procedures (UCC Objection at ¶17), and therefore the Debtors

                             7     should wait until a 382(l)(5) Plan is actually proposed to seek the Claims Procedures (UCC Objection

                             8     at ¶¶14, 15 and 18; Joinder). However, the UCC Objection mischaracterizes the relief sought and its

                             9     import.

                             10                  12.     It is not the Motion that provides notice to potential acquirors of Claims, but

                             11    rather the Court’s Order itself. Indeed, without the Order and the imprimatur of the Court, the

                             12    Motion may be completely ineffective. Granting the relief requested in the Motion will not impose a
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                             13    single trading restriction on any creditor today, but rather will officially notify claimholders and
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                             14    potential acquirors of Claims of the Claims Procedures that would be implemented in the event of a

                             15    proposed 382(l)(5) Plan.

                             16                  13.     The UCC asserts that if the relief is granted as to Claims, Claims would trade

                             17    under the shadow of an arbitrary future Determination Date (UCC Objection at ¶10), and would

                             18    subject claimholders to the burden of broad discovery (UCC Objection at ¶11).           Notably, the

                             19    procedures that would become operative at such point – with necessary notice being given in the

                             20    proposed disclosure statement accompanying the proposed 382(l)(5) Plan – are akin to the Stock

                             21    Procedures that the UCC affirmatively supports. Such procedures would, among other things, require

                             22    notice of Claim ownership by then Substantial Claimholders and require advance approval of any

                             23    subsequent acquisition of Claims by any person that is or would become (as a result of such

                             24    acquisition) a Substantial Claimholder.

                             25                  14.     Moreover, one aspect of the Claims Procedures is the potential that the Debtors

                             26    would subsequently seek an order requiring that a Substantial Claimholder that acquired Claims

                             27    during the Chapter 11 cases resell all or a portion of the Claims so acquired. Although any such

                             28    required sale would require a further order of the Court, it is important that any acquiror of Claims
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF              6
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED               Entered: 02/25/19 19:11:09      Page 6 of
                                CREDITORS                               11
                             1    during the Chapter 11 Cases that is or could become a Substantial Claimholder be on notice now

                             2    officially by a Court Order that such acquisition could at a future time be subject to resale.

                             3    Otherwise, such later motion for relief could be subject to attacks of due process or objected to on

                             4    other equitable grounds, thereby impairing the Debtors’ ability to protect the potential value of their

                             5    Tax Attributes. Thus, contrary to the UCC’s assertion that obtaining the requested relief now raises

                             6    due process concerns (UCC Objection at ¶14), the requested Order in fact does the exact opposite, by

                             7    ensuring that potential acquirors of Claims have formal advance notice of the Claims Procedures.

                             8                   15.    Accordingly, the Claims Procedures are narrowly tailored to preserve the value
                             9    and liquidity of all creditor Claims, while at the same time ensuring that the Debtors have the ability
                             10   to maximize value for all economic stakeholders in these Chapter 11 Cases. It is important to put the
                             11   Claims Procedures into proper perspective:
                             12         (i)     The Claims Procedures do not prohibit or restrict the sale of Claims in any way, at any
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                             13                 time;
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                             14         (ii)    If and when the procedures become operative, certain notifications would be imposed
                             15                 on then Substantial Claimholders and any persons that propose to make an acquisition
                             16                 by which they would become a Substantial Claimholder.                As indicated, such
                             17                 notification requirements are akin to the Stock Procedures, and do not impose any
                             18                 burden more or less than that imposed on existing stockholders, which the UCC

                             19                 affirmatively supports;

                             20         (iii)   The Claims Procedures provide necessary notice of the sell-down procedures should

                             21                 they ever be needed;

                             22         (iv)    The sell-down component of the Claims Procedures only becomes operative if the

                             23                 Court approves such sell-down upon subsequent motion and, then, only if the 382(l)(5)

                             24                 Plan is subsequently confirmed.      See Motion, Exhibit 1 to Final Order, at 13-14

                             25                 (providing that the sell-down is to occur by the later of “(i) five (5) business days after

                             26                 the entry of an order confirming the 382(l)(5) Plan and (ii) such other date specified in

                             27                 the Sell-Down Notice, as applicable, but before the effective date of the 382(l)(5)

                             28
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF              7
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED               Entered: 02/25/19 19:11:09         Page 7 of
                                CREDITORS                               11
                             1                  Plan”). In addition, any sell-down would only be to the extent necessary to comply

                             2                  with Section 382(l)(5); and

                             3          (v)     The Claims Procedures do not require any holder to sell-down any Claims it acquired

                             4                  prior to the date of the filing of the Motion (i.e., the Petition Date) under any

                             5                  circumstances.

                             6                   16.     In short, consistent with similar motions, the Claims Procedures are narrowly

                             7    tailored to minimize any potential harm or prejudice to Claims traders. Rather than having certainty

                             8    and formal Court-approved notice of the procedures now, the UCC proposes that the Debtors wait
                             9    and seek such procedures in conjunction with proposing a 382(l)(5) Plan, when it may be too late to
                             10   establish restrictions to qualify for the requirements of the Section 382(l)(5) Safe Harbor.
                             11                  17.     The objecting parties’ assertion that the relief requested will create an
                             12   inappropriate overhang on the Claims trading market rings hollow. As they state, they believe the
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                             13   Debtors are seeking to protect against “speculative (and relatively unlikely) future scenarios.” UCC
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                             14   Objection at ¶ 4. Under these circumstances, either the objecting parties are correct and a 382(l)(5)
                             15   Plan will not be filed in a manner that impacts them, in which case there should be no impact on the
                             16   market and no adverse impact resulting from granting the relief requested in the Motion – or the
                             17   objectors are wrong and, therefore, there is considerable value to preserve in the Tax Attribute that
                             18   they seek to jeopardize to preserve their optionality at the expense of all other parties in interest.

                             19                  18.     Accordingly, whereas significant harm could potentially befall the Debtors,

                             20   their estates and all of their economic stakeholders if the Order is not entered in that the Debtors may

                             21   be foreclosed from utilizing the 382(l)(5) Safe Harbor, no cognizable prejudice would befall any

                             22   claimholder (including any Substantial Claimholder) if the Order is entered at this time.

                             23                  19.       If, in connection with formulating a plan of reorganization, the Debtors

                             24   determine that a 382(l)(5) Plan would be beneficial, the Claims Procedures through the notification

                             25   requirements allow the Debtors to obtain the necessary information to confirm that the Section

                             26   382(l)(5) Safe Harbor is indeed available based on the then holdings of Claims. If the information

                             27   shows that the Section 382(l)(5) Safe Harbor is not available solely as a result of certain creditors

                             28   who would own 4.75% or more of the equity of the reorganized Debtors after the plan goes effective
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF                8
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED                 Entered: 02/25/19 19:11:09         Page 8 of
                                CREDITORS                               11
                             1    due to those creditors acquiring additional Claims during the Chapter 11 Case, the Debtors could seek

                             2    authority from the Court to implement the sell-down procedures.                   Any affected Substantial

                             3    Claimholder would, at such time, have an opportunity to object to the sell-down relief requested by

                             4    the Debtors.    Moreover, the Order provides that “[n]othing herein shall preclude any person

                             5    (including any Entity) or Acquiring Group desirous of purchasing or transferring any interest in, or

                             6    Claims against, the Debtors from requesting relief from this Order from this Court, subject to the

                             7    Debtors’ rights to oppose such relief.” See Motion, Final Order, at 3. The issuance of the Order thus

                             8    merely puts all creditors on sufficient notice that the Debtors may seek appropriate relief for any
                             9    postpetition actions that reduce the value of the Debtors’ assets, and provides certainty as to the
                             10   procedures that would apply.
                             11         B.       The Court Should Enter the Requested Order in Furtherance of the Automatic
                                                 Stay
                             12
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                                                 20.     The relief requested in the Motion is an action in furtherance of the automatic
                             13
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                                  stay provisions of section 362 of the Bankruptcy Code with respect to the Debtors’ NOLs, and
                             14
                                  pursuant to section 105 of the Bankruptcy Code. “The key elements for a stay under 11 U.S.C. §
                             15
                                  362(a)(3) are the existence of property of the estate and the enjoining of all efforts by others to obtain
                             16
                                  possession or control of property of the estate.” In re Golden Distribs., Ltd., 122 B.R. 15, 19 (Bankr.
                             17
                                  S.D.N.Y. 1990). The Motion satisfies these elements. The UCC characterizes the relief sought in the
                             18
                                  Motion as requiring the Court to render an advisory opinion, and asserts that the relief requested
                             19
                                  raises due process concerns (UCC Objection at ¶ 12, 14). Such characterization ignores the purpose
                             20
                                  and function of the procedures as discussed above, and the weight of authority granting claims
                             21
                                  trading procedures to protect the potential value of a debtor’s tax attributes.
                             22
                                                 21.     Claims trading procedures of the type sought here are routinely granted by
                             23
                                  Bankruptcy Courts in furtherance of the automatic stay and pursuant to the Bankruptcy Court’s
                             24
                                  equitable powers. See, e.g., In re Sears Holdings Corporation, No. 18-23538 (RDD) (approving
                             25
                                  notification and sell-down procedures for transfers of both secured and unsecured claims) (Bankr.
                             26
                                  S.D.N.Y. Nov. 16, 2018); In re Endeavour Operating Corp., Ch. 11 Case No. 14–12308 (KJC)
                             27
                                  (Bankr. D. Del. Nov. 6, 2014) (same); In re LightSquared, No. 12-12080 (SCC) (Bankr. S.D.N.Y.
                             28
                                DEBTORS’ REPLY TO LIMITED OBJECTION OF                9
                              Case:
                                THE19-30088    Doc# 650OF UFiled:
                                    OFFICIAL COMMITTEE            02/25/19
                                                            NSECURED                 Entered: 02/25/19 19:11:09          Page 9 of
                                CREDITORS                               11
                             1        June 4, 2012) (same); In re AMR Corp., No. 11-15463 (SHL) (Bankr. S.D.N.Y. Jan. 27, 2012)

                             2        (approving notification and sell-down procedures for transfers of unsecured claims); Lehman Bros.

                             3        Holdings Inc., No. 08-13555 (JMP) (Bankr. S.D.N.Y. Mar. 25, 2010) (approving notification and

                             4        sell-down procedures for transfers of both secured and unsecured claims); In re US Shipping Partners

                             5        L.P., No. 09-12711 (RDD) (Bankr. S.D.N.Y. May 22, 2009) (approving claims trading procedures for

                             6        transfers of senior secured claims and second lien notes); In re Washington Mutual, Inc., No. 08-

                             7        12229 (MFW) (Bankr. D. Del. Nov. 19, 2008) (approving the claims trading procedures sought by

                             8        holders of certain guarantee claims despite objection from the debtors); In re Dana Corp., No. 06-
                             9        10354 (BRL) (Bankr. S.D.N.Y. Aug. 9, 2006) (approving notification and sell-down procedures for
                             10       both secured and unsecured claims); In re In re Delphi Corp., No. 05-44481 (RDD) (Bankr. S.D.N.Y.
                             11       Jan. 9, 2006) (approving notification and sell-down procedures for transfers of certain claims); In re
                             12       Delta Air Lines, No. 05-17923 (PCB) (Bankr. S.D.N.Y. Dec. 20 2005) (same); In re Mirant Corp.,
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                             13       No. 03-46590 (DML) (Bankr. N.D. Tex. Sept. 9, 2003) (approving notification and sell-down
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                             14       procedures for debt claims). 2
                             15                      22.     It is clear that the Debtors’ NOLs are property of their estates. See United

                             16       States v. Towers (In re Feiler), 230 B.R. 164, 168 (B.A.P. 9th Cir. 1999) (“An NOL is a tax attribute

                             17       of the debtor that is part of the bankruptcy estate”); Official Comm. of Unsecured Creditors v. PSS

                             18       S.S. Co. (In re Prudential Lines, Inc.), 928 F.2d 565, 573 (2d Cir. 1991), cert. denied, 502 U.S. 821

                             19       (1991) (“Including NOL carryforwards as property of a corporate debtor’s estate is consistent with

                             20       Congress’ intention ‘to bring anything of value that the debtors have into the estate.’”); see also In re

                             21       Cumberland Farms, Inc., 162 B.R. 62, 67 (Bankr. D. Mass. 1993) (analyzing a contingent tax benefit

                             22       to an S-Corporation and holding that “[t]he possibility that these contingencies will or will not occur

                             23       is relevant only to the value of the Debtor’s benefit . . . the benefit, however contingent or intangible,

                             24       is property of the estate . . . . An analogous benefit is derived by a Sub-chapter C debtor from its own

                             25       net operating loss carryforward.”). The limited effect that the Claims Procedures might have on the

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                                   Due the voluminous nature of the orders cited herein, they are not attached to this Reply, but they
                                  will be made available upon request of the undersigned counsel.
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                                 DEBTORS’ REPLY TO LIMITED OBJECTION OF     10
                              Case:
                                 THE19-30088   Doc# 650OF U
                                     OFFICIAL COMMITTEE    Filed: 02/25/19 Entered: 02/25/19 19:11:09
                                                            NSECURED                                                      Page 10 of
                                 CREDITORS                              11
                             1    trading of Claims, if any, does not constitute cause to deny the Debtors and their economic

                             2    stakeholders the potential benefit of the Debtors’ significant Tax Attributes.

                             3    IV.    CONCLUSION

                             4                   23.     Based on the reasons set forth above, the Debtors respectfully request that the

                             5    Court grant the relief requested in the Motion on a final basis and grant such other relief as is just and

                             6    proper under the circumstances.

                             7    Dated: February 25, 2019
                                                                          WEIL, GOTSHAL & MANGES LLP
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                                                                           KELLER & BENVENUTTI LLP
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                                                                          /s/ Jane Kim
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                                 DEBTORS’ REPLY TO LIMITED OBJECTION OF     11
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                                 CREDITORS                              11
